  Case 2:18-mc-51358-BAF ECF No. 8 filed 10/17/18   PageID.131   Page 1 of 12




                 UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION
____________________________________
                                      Misc. Action No.: 18-mc-51358
UNITED STATES OF AMERICA,             Crim. Action No.: 17-cr-20274

                        Plaintiff,             Hon. Bernard A. Friedman
                                               Mag. David R. Grand
            v.


JUMANA NAGARWALA, et al.,

                    Defendants.
____________________________________

  REPLY BRIEF OF EQUALITY NOW, WESPEAKOUT, SAHIYO, AND
    SAFE HANDS FOR GIRLS IN OPPOSITION TO DEFENDANTS’
      RESPONSE TO MOTION TO FILE BRIEF AMICI CURIAE
                  AND MOTION TO STRIKE


      Proposed Amici curiae Equality Now, WeSpeakOut, Sahiyo, and Safe Hands

for Girls (Amici), by their undersigned attorneys, submit this reply brief in

opposition to Defendants’ Response to Motion for Leave to File Brief Amici

Curiae and Motion to Strike (Opposition).
  Case 2:18-mc-51358-BAF ECF No. 8 filed 10/17/18       PageID.132    Page 2 of 12




                                       Argument

      This case involves the United States’ prohibition of female genital

mutilation (FGM). In their proposed brief, Amici provide the Court with valuable

and unique information material to the constitutional challenges raised by

Defendants, and which present important issues of first impression.

      Defendants’ effort to preclude this Court’s consideration of Amici’s brief is

factually and legally misguided. Three of the proposed Amici are personally led by

survivors of FGM; the fourth, Equality Now, works regularly with survivors of

FGM from communities across the United States. All Amici are actively involved,

and have special expertise, in the legal response to FGM around the globe. It is

manifest that the proposed amicus brief provides important information bearing

upon this Court’s decision which has not been presented by the Government.

      This is precisely the type of brief that should be admitted pursuant to Federal

Rule of Appellate Procedure (F.R.A.P.) 29, which Defendants agree should guide

the Court’s decision. It cannot be that the Defendants—who stand accused of

performing and conspiring to perform FGM across interstate lines yet have brought

a (disfavored) facial constitutional challenge to avoid answering those charges—

can move to strike an amicus brief on the basis of their subjective view that the




                                         2
     Case 2:18-mc-51358-BAF ECF No. 8 filed 10/17/18      PageID.133    Page 3 of 12




brief’s arguments are “sufficiently” or “adequately” addressed in the Government’s

brief.

         F.R.A.P. 29 does not permit Defendants to silence Amici and the survivors

they represent in this way. Because the proposed brief brings relevant information

to the attention of the Court that was not already presented by either party, Amici

should be heard on this facial challenge to Section 116, which could have far-

reaching consequences for girls at risk of FGM throughout the United States.


I.       Amici’s brief is not redundant with the brief of the United States.

         Defendants have accepted that F.R.A.P. 29 applies to amicus submissions in

the Eastern District of Michigan. Opp. at 8. Amici’s brief meets the requirements

of this rule: it “brings relevant matter[s] to the attention of the court that has not

already been brought to its attention by the parties.”1

         The only cases Defendants cite in opposition are out of circuit.2 Even if the

Court were to apply Judge Posner’s exacting standard for amicus submissions,

Amici’s brief would meet it. The arguments offered by Amici provide “unique

information [and] perspective that can help the Court beyond the help that the


1
  Fed. R. App. Proc. 29, Brief of an Amicus Curiae, Committee Notes on Rules,
1998 Amendment (quoting Sup. Ct. R. 37.1).
2
  Defendants cite three cases from the Seventh Circuit and one case from the Fifth
Circuit in support of their Opposition, with no indication of whether the Sixth
Circuit has chosen to follow these circuits’ restrictive interpretation of F.R.A.P. 29.
                                          3
  Case 2:18-mc-51358-BAF ECF No. 8 filed 10/17/18        PageID.134    Page 4 of 12




lawyers for the parties are able to provide.” Opp. at 7 (citing Ryan v Commodity

Futures Trading Comm’n, 125 F. 3d 1062, 1062-1063 (7th Cir. 1997)).

      In addressing the Commerce Clause and Treaty Power justifications for

Section 116, Amici’s proposed brief complements, rather than duplicates, that of

the United States. The Government’s brief does not set out the separation of

powers and deference arguments that Amici call to the Court’s attention; nor does it

have the benefit of the comparative law research which Amici have undertaken.

This research demonstrates a global consensus regarding the International

Covenant on Civil and Political Rights (ICCPR) and other treaties to which other

countries as well as the United States are party—namely, that these treaties provide

for the criminalization of FGM.

      Amici’s brief also makes the following unique arguments not found in the

United States’ brief:

            Treaty Power: The United States’ interpretation of its treaty

             commitments falls in line with the international consensus on FGM

             and with other countries’ efforts to eradicate it. Amici’s brief explains

             why the executive and legislative branches’ implementation of the

             United States’ treaty commitments deserve deference by the Court.

             Amici Brief at 12, 13. It also situates Section 116 within the global


                                          4
  Case 2:18-mc-51358-BAF ECF No. 8 filed 10/17/18    PageID.135    Page 5 of 12




            movement to outlaw FGM, showing that U.S. law comports with the

            international consensus on FGM. Id. at 14-21. This complements,

            and does not duplicate, the United States’ focus on the nexus between

            Section 116 and the ICCPR.

           Commerce Clause: The proposed brief explains further the need for a

            federal response to FGM, a practice with which Amici are intimately

            familiar both within and outside of the Dawoodi Bohra community.

            The brief shows how FGM transcends state lines, which renders the

            partial state-level response to FGM—with 23 states having no ban

            against FGM—wholly inadequate. Amici Brief at 24. In addition, the

            brief discusses the diffuse nature of the “demand” for FGM

            practitioners in the United States (as well as their concentrated

            “supply”). Id. at 24-25. This provides the Court with important

            context for why FGM qualifies as an inherently commercial interstate

            practice that can and should be regulated at the federal level, as

            Congress has done.


II.   Amici’s brief offers relevant arguments from a unique perspective.

      The arguments in Amici’s brief are relevant to the constitutional challenge

presently before the Court.

                                         5
  Case 2:18-mc-51358-BAF ECF No. 8 filed 10/17/18       PageID.136    Page 6 of 12




      Defendants’ attempt to dismiss Amici’s brief as irrelevant ignores the fact

that they are making a facial challenge to Section 116. It is Defendants that have

made the wider context relevant by mounting a legal challenge divorced from the

specifics of this case (which notably involved interstate travel), and that instead

would apply to Section 116 in all of its possible applications. If successful, this

challenge would have implications far beyond this particular prosecution. As

Amici explain in their brief, at least 513,000 women and girls in the United States

are living with, or are at risk of, FGM. Amici Brief at 6. Section 116 protects these

women and girls, and the Court should be apprised of the deleterious effects

flowing from Defendants’ constitutional challenge to Section 116.

      The broad implications of Defendants’ facial challenge to Section 116

necessitate a discussion of the wider international context underlying Section 116,

as well as an inquiry into FGM’s commercial nature and its impact on women,

families, and communities.       Amici are uniquely situated to provide such

information. Amici have worked for years to advocate for anti-FGM measures in a

wide range of jurisdictions, including in the United States. 3 Three of them—

WeSpeakOut, Sahiyo, and Safe Hands for Girls—are headed by survivors of FGM.

Amici therefore can personally attest to the lifelong physical and health

consequences that FGM entails for women and girls, and have a good



                                         6
    Case 2:18-mc-51358-BAF ECF No. 8 filed 10/17/18        PageID.137    Page 7 of 12




understanding of the factors that have informed the widespread prohibition of

FGM under domestic and international law.

         Finally, Amici are not a “friend of the party”; they are a friend of the Court.

Amici have an interest in this case for an obvious reason: this case is a landmark

step in the domestic and global campaign to eliminate FGM and the continued

cutting of women’s and girls’ genitalia for non-medical reasons. The outcome of

Defendants’ constitutional challenge to Section 116 will affect far more people

than just members of the self-described “devout” Dawoodi Bohra community. If

successful, their motion to dismiss would eviscerate essential protections against a

particularly horrific form of gender-based violence and child abuse for all

communities, and throughout the United States (particularly in the 23 states that

lack FGM bans).

         The mission of Amici is to eradicate FGM in the United States and

worldwide, and this is intimately connected with the personal experiences of Amici

and/or the survivors they represent.         Amici thus have a clear interest in the

protection of girls from the violence embodied by this case.




3
    See Interest of Amici Curiae, pp. 1-3.
                                             7
    Case 2:18-mc-51358-BAF ECF No. 8 filed 10/17/18      PageID.138    Page 8 of 12




III.   Defendants’ other objections are meritless and irrelevant.

       Defendants spend over two pages of their motion explaining how the

appended stories of FGM survivors’ experiences in Amici’s proposed brief are

provided by women who practice a more “progressive” form of the Dawoodi Bohra

religion, and why their experiences are therefore irrelevant. Opp. at 6, 7. This

misguided line of argumentation is offensive to the survivors who have come

forward with their stories in order to protect other women and girls from the abuse

they have suffered. Defendants do not, and cannot, substantiate their purported

distinction between “progressive” and “devout” Bohra, which they in any event

admit has nothing to do with the admissibility of Amici’s brief.4 Defendants are

not the arbiters of which beliefs are sufficiently “pure” as to be admissible in this

Court. As shown in Annex 1 of the amicus brief, these survivors are not “random

women,” Opp. at 7, and the physical and mental scars left by FGM have nothing to

do with their religious beliefs. Defendants should not be permitted to silence their

voices or to prevent this Court from hearing them.




4
  Opp. at 7 (“While these issues may be relevant at trial in this matter, they are not
relevant as to Congress’ authority to enact the FGM statute.”) (emphasis added).
In any event, resolutions issued by religious authorities in the Bohra community in
the United States oppose the practice of FGM. A compilation of such resolutions
is available at “Dawoodi Bohra Resolutions Against Khafd/Khatna (FGC),”
https://sahiyo.com/dawoodi-bohra-resolutions-against-khafdkhatna-fgc.
                                          8
  Case 2:18-mc-51358-BAF ECF No. 8 filed 10/17/18         PageID.139    Page 9 of 12




      The survivors’ experiences detailed in Amici’s brief are relevant and material

to the constitutional challenge to Section 116 for at least three reasons:

            First, the survivors’ stories offer cogent perspectives on why FGM is

             a form of gender-based violence and child abuse, and why there is a

             global movement to ban it in which the United States has chosen to

             participate by enacting Section 116.

            Second, these accounts reinforce the true stakes of this case. It would

             be a significant blow to the rights of these and many other survivors,

             as well as to countless women and girls in the United States at risk of

             FGM, if Section 116 were to be ruled unconstitutional.

            Third, these stories offer the Court concrete and specific insights into

             the standard practice of paying cutters to conduct FGM. Amici’s Brief

             at Annex 1. The commercial realities of how FGM is performed are

             highly material to Defendants’ arguments as to interstate commerce.

      Defendants’ remaining arguments are inapposite.          Their suggestion that

Amici do not have an understanding of the facts of this case because they lack

access to discovery, Opp. at 13, is a red herring. Defendants have mounted a facial

constitutional challenge, affecting women and girls all over the United States. Any

confidential information in this case, found only via the discovery process, is


                                          9
 Case 2:18-mc-51358-BAF ECF No. 8 filed 10/17/18       PageID.140   Page 10 of 12




unnecessary to address to the motion to dismiss, which is a legal and not a factual

challenge.

      Finally, Defendants refer to the Government’s witnesses being members of

the Amici organizations. Opp. at 13. This is false. As of the time of this filing no

one from Amici has agreed, or even been approached, to offer evidence for the

Government. Whoever the witnesses are to whom Defendants intend to refer, they

have not had any involvement with the proposed amicus brief. And in any event,

Amici speak for themselves (as international human rights organizations), not as

individuals.


                                   Conclusion


      For the foregoing reasons, Equality Now, WeSpeakOut, Sahiyo, and Safe

Hands for Girls respectfully request that this Court (i) deny Defendants’

Opposition and (ii) grant Amici’s motion for leave to submit the proposed brief

Amici curiae.




                                        10
 Case 2:18-mc-51358-BAF ECF No. 8 filed 10/17/18   PageID.141   Page 11 of 12




                                  Respectfully submitted,


                                  /s/ Luke A. Sobota
Shelby Quast                      Luke A. Sobota
Jacqui Hunt                       Counsel of Record
Divya Srinivasan                  Jessica Ji
EQUALITY NOW                      Amelia Keene
125 Maiden Lane B                 Philipp Kotlaba
New York, NY 10038                Kimberly Larkin
                                  Ana Lenard
Mariya Taher                      Laura Pereira
SAHIYO                            Nastasja Suhadolnik
45 Prospect Street                Of Counsel
Cambridge, MA 02139               THREE CROWNS LLP
                                  3000 K Street, N.W.
Jaha Dukureh                      Suite 101
SAFE HANDS FOR GIRLS              Washington, D.C. 20007-5109
225 Peachtree Street, NE          (202) 540-9477
Atlanta, GA 30303                 luke.sobota@threecrownsllp.com

Zehra Patwa                       Lucy Martinez
WESPEAKOUT                        Of Counsel
Tara Mahal, Plot No. 756
5th Road                          Schona Jolly QC
Khar West, Mumbai                 Of Counsel
Maharashtra 4000055               CLOISTERS
India                             1 Pump Court
                                  London, EC4Y 7AA
                                  United Kingdom

                                  Attorneys for Amici Curiae

Dated:      October 17, 2018




                                    11
 Case 2:18-mc-51358-BAF ECF No. 8 filed 10/17/18        PageID.142    Page 12 of 12




                             CERTIFICATE OF SERVICE

       I hereby certify that on October 17, 2018, I electronically filed the following
documents with the Clerk of the Court using the ECF system which will send
notification of such filing to all counsel of record: Motion of Equality Now,
WeSpeakOut, Sahiyo, and Safe Hands for Girls in Opposition to Defendants’
Response to Motion to File Brief Amici Curiae and Motion to Strike.

                                              /s/ Luke A. Sobota
                                              Luke A. Sobota




                                         12
